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15
                          IN THE UNITED STATES DISTRICT COURT
16                         NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
17
     In re: CATHODE RAY TUBE (CRT)                  Master Case No. 3:07-cv-05944-SC
18   ANTITRUST LITIGATION
                                                    MDL No. 1917
19
     This Document Relates to:                      Individual Case No. 3:14-cv-02510
20
     ViewSonic Corporation v. Chunghwa              PANASONIC DEFENDANTS’ NOTICE OF
21                                                  MOTION, AND MOTION TO DISMISS
     Picture Tubes, Ltd., et al., No. 3:14-cv-
     02510                                          AND TO COMPEL ARBITRATION
22
                                                    Oral Argument Requested
23
                                                    Date: October 10, 2014
24                                                  Time: 10:00 a.m.
                                                    Before: Hon. Samuel Conti
25

26
         REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
27
28
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                                   NOTICE OF MOTION AND MOTION
 1
 2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3             PLEASE TAKE NOTICE that on October 10, 2014, at 10:00 a.m., or as soon thereafter as
 4   the matter may be heard, in Courtroom 1, 17th Floor, 450 Golden Gate Avenue, San Francisco,
 5
     California 94102, before the Honorable Samuel Conti, Defendants Panasonic Corporation,
 6
     Panasonic Corporation of North America, and MT Picture Display Co., Ltd. (the “Panasonic
 7
     Defendants”) will and hereby do move the Court pursuant to Chapter 1 of the Federal Arbitration
 8
 9   Act (“FAA”), 9 U.S.C. § 3, and Rule 12(b)(6) of the Federal Rules of Civil Procedure, for an order

10   dismissing ViewSonic Corporation’s (“ViewSonic”) claims that are based on its alleged purchases of

11   CRT Finished Products from the Panasonic Defendants and compelling ViewSonic to arbitrate those
12   claims. ViewSonic must be compelled to arbitrate its claims against the Panasonic Defendants
13
     because ViewSonic entered into a valid, written arbitration agreement with the Panasonic
14
     Defendants
15
16
17
18                 Further, ViewSonic asserts that the non-signatory Panasonic Defendants were “agents”

19   of the signatory and that all Panasonic Defendants are jointly and severally liable. Because
20
     ViewSonic’s claims against the Panasonic Defendants are subject to arbitration, the Court should
21
     grant this motion, dismiss this action as it pertains to ViewSonic’s CRT Finished Product purchases
22
     from the Panasonic Defendants, and compel ViewSonic to proceed with arbitration as to any such
23
     claims.
24
25             This motion is based upon this Notice of Motion, the accompanying Memorandum of Points

26   and Authorities, and accompanying exhibits, argument of counsel, and such other matters as the
27   Court may consider.
28                                                     1
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                   MDL No. 1917
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           Case 4:07-cv-05944-JST Document 2767 Filed 08/25/14 Page 6 of 16



 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.       INTRODUCTION
 3
              Defendants Panasonic Corporation, Panasonic Corporation of North America (“PNA”), and
 4
     MT Picture Display Co., Ltd. (“MTPD”) (collectively, the “Panasonic Defendants”) move to compel
 5
     arbitration of Plaintiff ViewSonic Corporation’s (“ViewSonic”) claims against the Panasonic
 6
     Defendants. ViewSonic alleges that the Panasonic Defendants and others engaged in a conspiracy to
 7

 8   fix the prices of cathode ray tubes (“CRTs”), which resulted in ViewSonic paying artificially-

 9   inflated prices for products containing CRTs (“CRT Finished Products”). ViewSonic, however,
10   entered into an OEM supply agreement (the “OEM Agreement”) with Panasonic Corporation (f/k/a
11
     Matsushita Electric Industrial Co., Ltd.)
12

13

14

15                  Pursuant to the Federal Arbitration Act, this Court should enforce this arbitration

16   agreement and compel ViewSonic to pursue any claims against the Panasonic Defendants in an

17   arbitral forum.
18            Indeed, in other opt-out actions in this MDL where plaintiffs had similarly entered into
19
     supply agreements containing arbitration clauses, this Court has repeatedly dismissed plaintiffs’
20
     claims and ordered the parties to proceed in arbitration. See infra Section IV(a) (citing successful
21
     motions to compel arbitration brought by Toshiba Defendants and Philips Defendants against Costco
22

23   Wholesale Corporation). Given ViewSonic’s                                                    and the

24   long-standing federal policy in support of arbitration, ViewSonic should likewise be ordered to

25   arbitrate its claims based ViewSonic’s CRT Finished Product purchases from the Panasonic
26
     Defendants, and its claims against the Panasonic Defendants should be dismissed accordingly.
27
     1
         See Declaration of Adam C. Hemlock, dated August 25, 2014 (“Hemlock Decl.”), Ex. A § 17.3.
28                                                   2
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                    MDL No. 1917
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 1   II.      STATEMENT OF THE ISSUE
 2            Whether the Court should dismiss ViewSonic’s claims against the Panasonic Defendants
 3
     based on ViewSonic’s CRT Finished Product purchase from the Panasonic Defendants and compel
 4
     ViewSonic to arbitrate its claims given that
 5

 6

 7

 8   III.     FACTUAL BACKGROUND

 9            A.     Procedural History
10            On May 30, 2014, ViewSonic filed a Complaint in the Northern District of California against
11   the Panasonic Defendants and other defendants. ViewSonic Corporation v. Chunghwa Picture
12
     Tubes, Ltd. et al, No. 3:14-cv-02510 (N.D. Cal. May 30, 2014), ECF No. 1.2 On June 6, 2014,
13
     ViewSonic produced documents and data that purport to be responsive to discovery requests
14
     propounded on other Direct Action Plaintiffs (“DAPs”) in this case, including the OEM Agreement
15

16   between ViewSonic and Panasonic Corporation. See Hemlock Decl. Ex. A. The OEM Agreement

17

18

19

20

21
              B.     ViewSonic Alleges a Conspiracy Involving The Panasonic Defendants
22
              ViewSonic’s Complaint asserts federal antitrust claims under Section 1 of the Sherman Act,
23
     15 U.S.C. § 1, against the Panasonic Defendants and others based upon allegations of a CRT price-
24

25
     2
       On August 13, 2014, this Court granted a stipulation between the Panasonic Defendants and
26   ViewSonic in which the parties agreed that any applicable motions brought against other plaintiffs in
     the MDL to date are deemed to have been raised by the Panasonic Defendants against the ViewSonic
27   Complaint, and the arguments raised in any such motions are preserved for appellate purposes as if
     they had been made by the Panasonic Defendants against the ViewSonic Complaint. ECF No. 2738.
28                                                     3
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                  MDL No. 1917
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 9   Id. at Ex. A          ViewSonic’s claims in this action concern its alleged CRT Finished Product
10
     purchases from the Panasonic Defendants,
11
                                          There can therefore be no doubt that ViewSonic’s claims against
12
     the Panasonic Defendants
13

14

15   IV.     ARGUMENT

16           A.     Legal Standard

17           The Federal Arbitration Act (“FAA”) establishes a “liberal federal policy favoring arbitration

18   agreements.” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). This
19   Court has acknowledged this well-settled principle in granting motions to compel arbitration brought
20
     by other defendants in this case against other opt-out plaintiffs. See Order Granting in Part and
21
     Denying in Part the Philips Defendants’ Motion to Compel Arbitration, ECF No. 2265 (“Philips
22
     Order”) at 5 (“The FAA embodies a policy that generally favors arbitration agreements.”); Order
23

24
     4
25     The Panasonic Defendants do not concede that they are liable for the sales of their unnamed and
     alleged affiliates and reserve all rights to contest that liability before the arbitrator or before this
26   Court. Such liability is a question of fact for the arbitrator to decide. See St. Paul Marine & Fire
     Ins. Co. v. Courtney Enters., Inc., 270 F.3d 621, 624 (8th Cir. 2001) (“[T]he court may not rule on
27   the merits of any claim the parties have agreed to arbitrate.”).
28                                                      5
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                    MDL No. 1917
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 1   Adopting Special Master’s Report and Recommendation Regarding Toshiba Defendants’ Motion to
 2   Compel Arbitration, ECF No. 1543 (“Toshiba Order”) at 4 (same). It is equally well-settled that
 3
     agreements to arbitrate are to be rigorously enforced. See Moses H. Cone Mem’l Hosp., 460 U.S. at
 4
     24-25; Philips Order at 5 (“Federal courts must enforce arbitration agreements rigorously.”); In re
 5
     TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, 2014 WL 1395733, at *1 (N.D. Cal. Apr.
 6

 7   10, 2014) (same).

 8          When considering a motion to compel arbitration, the Court must determine whether: (1) the

 9   contract containing the arbitration clause relates to a transaction involving interstate commerce; (2) a
10   valid agreement to arbitrate exists; and (3) whether the dispute is encompassed within the scope of
11
     that agreement. See Simula, Inc. v. Autoliv, Inc., 175, 716, 719-20 F.3d 7120 (9th Cir. 1999) (when
12
     considering motion to compel arbitration, “the district court can determine only whether a written
13
     arbitration agreement exists, and if it does, enforce it in accordance with its terms.”) (citation
14

15   omitted); Rep. of Nicaragua v. Standard Fruit Co., 937 F.2d 469, 475-78 (9th Cir. 1991); see also 9

16   U.S.C. § 4; Convention on the Recognition and Enforcement of Foreign Arbitral Awards (the “New

17   York Convention”), 9 U.S.C. § 206. Where there is a valid, enforceable arbitration agreement, the
18
     Court must compel arbitration. See 9 U.S.C. § 4 (“[T]he court shall make an order directing the
19
     parties to proceed to arbitration in accordance with the terms of the agreement.”); Philips Order at 5
20
     (policy of enforcing arbitration agreements and resolving ambiguities in favor of arbitration
21

22   “appl[ies] with special force in the field of international commerce.”); Estrella v. Freedom Fin., No.

23   C 09-03156 SI, 2011 WL 2633643, at *2 (N.D. Cal. July 5, 2011) (“Upon a showing that a party has

24   failed to comply with a valid arbitration agreement, the district court must issue an order compelling
25   arbitration.”) (citation omitted). Once a court determines that a controversy is arbitrable, it may do
26
     nothing further on the merits except to dismiss or stay proceedings pending arbitration.            See
27
     Nagrampa v. MailCoups, Inc., 469 F.3d 1257, 1276-77 (9th Cir. 2006) (“[i]f . . . the district court
28                                                6
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                    MDL No. 1917
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 1   decides that the arbitration agreement is valid and enforceable, then it should stay or dismiss the
 2   action pending arbitration proceedings to allow the arbitrator to decide the remaining claims . . .”).
 3
            B.
 4
            The FAA applies wherever an arbitration agreement is a “written provision in . . . a contract
 5
     evidencing a transaction involving commerce.” 9 U.S.C. § 2. That commerce must involve either
 6
     interstate or foreign commerce. Id. § 1. The OEM Agreement at issue here
 7

 8               thus triggering the application of the FAA. Indeed,

 9

10

11
                                                Commercial contracts between American and foreign
12
     corporations involve foreign “commerce.” Reynolds Jamaica Mines, Ltd. v. La Societe Navale
13
     Caennaise, 239 F.2d 689, 693 (4th Cir. 1956). As ViewSonic itself alleges, Defendants sold CRTs
14

15   in the United States in a “continuous and uninterrupted flow of interstate commerce and foreign

16   commerce . . .” Compl. ¶ 73.

17          The FAA also applies because
18

19
                                                               Here, too, ViewSonic’s own allegations are
20
     instructive: it alleges that “[t]he business activities of Defendants substantially affected interstate
21
     trade and commerce . . .” Compl. ¶ 75.
22

23          C.

24          The OEM Agreement, and the arbitration provision contained therein, is a valid and

25   enforceable contract emerging from arms-length negotiations between commercial entities. Both
26
     ViewSonic and Panasonic Corporation are sophisticated companies, accustomed to commercial
27
     dealings and arrangements such as those that the OEM Agreement memorializes.                 The OEM
28                                                      7
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 1   Agreement bears all of the indicia of a routine business contract
 2                                           No “grounds as exist at law or in equity for the revocation”
 3
     of the OEM Agreement, and therefore, the FAA is applicable. 9 U.S.C. § 2.
 4
            D.     All of ViewSonic’s Claims as to Direct Purchases from the Panasonic Defendants
 5                 Relate to and Connect with the Vendor Agreement

 6          ViewSonic’s claims against the Panasonic Defendants are premised on its alleged purchases

 7   of CRT Finished Products. See Compl. ¶¶ 2, 10, 16-17, 83-84, 213-14, 247. The OEM Agreement
 8

 9
     Thus, the claims against the Panasonic Defendants fall within the scope of the arbitration provision
10
     in the OEM Agreement.
11
            The OEM Agreement contains
12

13

14

15                                                                Even a cursory review of ViewSonic’s
16
     allegations demonstrates that ViewSonic’s federal claims arose
17

18
            Further, the Ninth Circuit has recognized that an agreement to arbitrate claims “arising out of
19

20   or relating to” a dispute is a broad and far reaching clause. See Mediterranean Enters., Inc., v.

21   Ssangyong Corp., 708 F.2d 1458, 1464 (9th Cir. 1983) (noting that the language “‘arising out of or

22   relating to this agreement’ had been labeled a ‘broad arbitration clause’” by other courts) (citation
23   omitted); Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1131 (9th Cir. 2000) (finding
24
     “arising out of or relating to” to be “broad and far reaching”). The Ninth Circuit has also broadly
25
     interpreted the phrase “arising in connection with” an agreement. See Simula, 175 F.3d at 721
26
     (holding that antitrust claims “arising in connection with the agreement were fully arbitrable and
27
28                                                     8
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                  MDL No. 1917
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 1   stating, “[e]very court that has construed the phrase ‘arising in connection with’ in an arbitration
 2   clause has interpreted that language broadly.”). Moreover, it is well-established that antitrust claims
 3
     are claims “arising under” purchase contracts. See Mitsubishi Motors Corp. v. Soler Chrysler-
 4
     Plymouth Inc., 473 U.S. 614 (1985) (holding that the antitrust claims arising under a sales agreement
 5
     between the parties were arbitrable); JLM Indus., Inc. v. Stolt-Nielsen SA, 387 F.3d 163, 181 (2d Cir.
 6

 7   2004) (holding that the plaintiffs’ antitrust claims arising under a form charter agreement were

 8   arbitrable).

 9             As noted above, this Court has in this MDL already considered and enforced similar
10   arbitration clauses in virtually identical circumstances, and has repeatedly ordered the parties to
11
     arbitrate. See Philips Order at 12, Toshiba Order at 10. Judge Illston similarly reached the same
12
     result in an antitrust action that, like this one, implicated supply agreements for the sale and purchase
13
     of component electronics that contained an arbitration clause. See In re TFT-LCD (Flat Panel)
14

15   Antitrust Litig., No. M 07-1827 SI, 2011 WL 2650689, at *3-5 (N.D. Cal. July 6, 2011) (enforcing

16   arbitration agreement governing “[a]ny disputes related to this Agreement . . .”); In re TFT-LCD

17   (Flat Panel) Antitrust Litig., M 07-1827 SI, Dkt. No. 3213 at 3 (N.D. Cal. Aug. 3, 2011) (enforcing
18
     agreement to arbitrate “all disputes arising out of, relating to, or in connection with this
19
     [Agreement]”).
20
               In line with this Court’s prior orders, and the well-settled public policy that “any doubts
21

22   concerning the scope of the arbitrable issues should be resolved in favor of arbitration,”5 arbitration

23   is required with respect to ViewSonic’s claims against the Panasonic Defendants as well.

24             E.     ViewSonic Must Arbitrate Claims with All of The Panasonic Defendants

25             ViewSonic is required to arbitrate its claims with all three of the Panasonic Defendants,
26   including PNA and MTPD, because the “obligation to arbitrate does not attach only to those who
27
     5
         Simula, 175 F.3d at 719 (citation omitted).
28                                                      9
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                    MDL No. 1917
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 1   actually signed the agreement to arbitrate.” Amisil Holdings Ltd. v. Clarium Capital Mgmt., 622 F.
 2   Supp. 2d 825, 830 (N.D. Cal. 2007); JLM, 387 F.3d at 177 (“under principles of estoppel, a non-
 3
     signatory to an arbitration agreement may compel a signatory to that agreement to arbitrate”).
 4
     Where, as here, it has been alleged that the non-signatory parties are agents or that their liability is
 5
     otherwise intertwined with the agreement to arbitrate, courts in this Circuit routinely apply
 6

 7   agreements to arbitrate to signatories and non-signatories alike. See Mundi v. Union Security Life

 8   Ins. Co., 555 F.3d 1042, 1046 (9th Cir. 2009) (“a signatory may be required to arbitrate a claim

 9   brought by a non-signatory because of the close relationship between the entities involved, as well as
10   the relationship of the alleged wrongs the non-signatory’s obligations and duties in the contract and
11
     the fact that the claims were intertwined with the underlying contractual obligations.”) (internal
12
     quotations omitted); Amisil, 622 F. Supp. 2d at 832-33 (N.D. Cal. 2007) (non-signatories to an
13
     agreement containing an arbitration clause could compel signatories to arbitrate when claims against
14

15   agents relate to their behavior or capacities as agents and arise out of or relate to the contract in

16   question); Hansen v. KPMG, LLP, et. al., No. CV 04-10525-GLT, 2005 WL 6051705, at *2-3 (C.D.

17   Cal. Mar. 29, 2005) (compelling a plaintiff signatory to arbitration where “[p]laintiff’s allegations
18
     plead interdependent and concerted misconduct” by a signatory and non-signatory defendants).
19
            Indeed, this Court has repeatedly held – including in this case – that related business entities
20
     can enforce provisions of contracts to which they were not signatories. See Toshiba Order at 9
21

22   (“Plaintiff must arbitrate its claims against the Toshiba Defendants whose affiliates – in this case,

23   TACP – have arbitration agreements with Plaintiff.           Plaintiff’s claims against the Toshiba

24   Defendants, per its own complaint, relate to their interrelated behavior and capacities as agents.”)
25   (citations omitted); In re TFT-LCD (Flat Panel) Antitrust Litig., M 07-1827 SI, 2014 WL 1395733,
26
     at *4 (N.D. Cal. Apr. 10, 2014) (finding “the relationship between the five NEC defendants is
27
     sufficiently close, and the relationship between the nonsignatory NEC defendants’ alleged wrongs
28                                                    10
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                    MDL No. 1917
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 1   and the arbitration agreement is sufficiently intertwined, such that Gateway can be compelled to
 2   arbitrate against all five NEC defendants.”); see also Fujian Pac. Elec. Co. Ltd. v. Bechtel Power
 3
     Corp., No. C 04-3126 MHP, 2004 WL 2645974, at *6 (N.D. Cal. Nov. 19, 2004) (“[w]hen the
 4
     charges against a parent company and its subsidiary are based upon the same facts and are inherently
 5
     inseparable, a court may refer claims against the parent to arbitration even though the parent is not
 6

 7   formally a party to the arbitration agreement.”) (citation omitted); JLM, 387 F.3d at 177-78

 8   (plaintiffs could not avoid arbitration with affiliate of signatory after having treated signatory and its

 9   affiliate as single unit in complaint).6
10
             Here, ViewSonic’s claims against the Panasonic Defendants relate to their alleged
11
     interrelated behavior. ViewSonic’s Complaint treats Panasonic Corporation and PNA as a single
12
     entity and further alleges that “the entire corporate family was represented” in the alleged
13
     conspiracy. Compl. ¶¶ 26-28, 132. Further, ViewSonic alleges that PNA is a wholly-owned and
14

15   controlled subsidiary of Panasonic Corporation and that Panasonic Corporation “dominated and

16   controlled the finances, policies and affairs” of PNA.        Id. ¶ 27.    ViewSonic also claims that

17   “Panasonic participated in the CRT conspiracy through MTPD” and generally asserts an
18
     “interrelated” relationship between Panasonic Corporation and MTPD. Id. ¶¶ 86, 88, 92(iii), 146.
19
     ViewSonic further alleges that Panasonic Corporation was the majority owner of MTPD until MTPD
20
     became a wholly-owned subsidiary of Panasonic Corporation in 2007. Id. ¶ 29.
21
     6
22     Courts have also permitted non-signatories to compel arbitration in cases where they “have tended
     to share a common feature in that the non-signatory party . . . has had some sort of corporate
23   relationship to a signatory party.” Just Film, Inc. v. Merch. Services, Inc., No. C 10–1993 CW, 2011
     WL 3809908, at *5 (N.D. Cal. Aug. 29, 2011) (citation omitted); see also In re Apple & AT&TM
24
     Antitrust Litig., 826 F. Supp. 2d 1168, 1178-79 (N.D. Cal. Dec. 1, 2011) (granting non-signatory’s
25   motion to compel arbitration and finding that the “non-signatory need not be a parent or subsidiary
     company of the signatory for the requisite ‘relationship’ to be found”). Just as these cases
26   “involv[ed] subsidiaries, affiliates, agents, and other related business entities,” Just Film, Inc., 2011
     WL 3809908, at * 5, ViewSonic has alleged that both PNA and MTPD are related to Panasonic
27   Corporation, the signatory of the OEM Agreement.
28                                                      11
     PANASONIC DEFENDANTS’ MOTION TO DISMISS                                      MDL No. 1917
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 1           Because ViewSonic has alleged a sufficiently close and interrelated relationship between all
 2   of the Panasonic Defendants, ViewSonic’s claims against all of the Panasonic Defendants must be
 3
     arbitrated under the OEM Agreement.
 4
     V.      CONCLUSION
 5
             For the foregoing reasons, the Panasonic Defendants respectfully request that the Court
 6

 7   dismiss ViewSonic’s claims that are based on its alleged CRT Finished Product Purchases from the

 8   Panasonic Defendants and compel ViewSonic to arbitrate those claims.

 9   Dated: August 25, 2014                   By: /s/ Adam C. Hemlock
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